            Case 1:20-cv-03066-SMJ                   ECF No. 10          filed 10/21/20    PageID.198 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
            RICHARD EUGENE YALLUP, JR.,
                                                                                                               Oct 21, 2020
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:20-cv-03066-SMJ
                   JANELLE RIDDLE and                                )
                   RENEE S. TOWNSLEY,                                )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff's Complaint, ECF No. 1, is DISMISSED WITH PREJUDICE because Defendants' quasi-judicial immunity
’
              cannot give rise to civil liability.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              Salvador Mendoza, Jr.




Date: October 21, 2020                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                             Angela Noel
